         Case 3:17-cr-00297-FAB Document 232 Filed 04/17/19 Page 1 of 7



                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,

       Plaintiff,

                    v.                         Criminal No. 17-297 (FAB)

JOSÉ MULERO-VARGAS [1],

       Defendant.



                            MEMORANDUM AND ORDER

BESOSA, District Judge.

       Defense counsel Jedrick Burgos-Amador (“Burgos”) and Ricardo

Lozada-Franco (“Lozada”) request that the Court reconsider the

imposition of sanctions and the disgorgement of attorneys’ fees.

(Docket No. 213.)        For the reasons set forth below, the motion for

reconsideration is DENIED.

I.     Background

       On May 10, 2017, a grand jury charged defendants José Mulero-

Vargas     (“Mulero”)      and   Luis    Merced-García      (“Merced”)    with

possession of a machinegun in furtherance of a drug trafficking

crime, possession of a firearm in furtherance of a drug trafficking

crime, and possession with intent to distribute a detectable amount

of cocaine, in violation of 18 U.S.C. § 924(c)(1)(B)(ii), 18 U.S.C.

§    924(c)(1)(A)(i),      and   21   U.S.C.    §   841(a)(1),   respectively.

(Docket No. 16.)         Mulero completed a CJA 23 Financial Affidavit,
         Case 3:17-cr-00297-FAB Document 232 Filed 04/17/19 Page 2 of 7



Criminal No. 17-297 (FAB)                                                    2

setting forth his income, assets, obligations and debts at the

time of his arrest.        (Docket No. 3.)      Magistrate Judge Bruce J.

McGiverin “deemed it appropriate to appoint counsel.”                 (Docket

No. 5.)     Four privately retained attorneys, however, appeared on

Mulero’s behalf within the next two years.            (Docket Nos. 10, 11,

123 and 124.) 1

      On September 5, 2018, the United States moved for an inquiry

to determine “where the money for multiple private attorneys [came]

from.”     Docket No. 142 at p. 5; citing Wood v. Georgia, 450 U.S.

261, 271 (1981) (“Inherent dangers that arise when a criminal

defendant is represented by a lawyer hired and paid by a third

party, particularly when the third party is the operator of the

alleged criminal enterprise” constituted a “clear possibility of

a conflict of interest”).         The Court referred the United States’

motion to Magistrate Judge Marshal D. Morgan.            (Docket No. 143.)

      The magistrate judge conducted an evidentiary hearing on

September 17, 2018 to identify the source of Mulero’s attorneys’



1 Assistant Federal Public Defender Francisco Celedonio (“Celedonio”) appeared
on Mulero’s behalf on May 9, 2017. (Docket No. 10.) The following day, however,
Mariela Maestre-Cordero (“Maestre”) filed a notice of appearance.       (Docket
No. 11.) Maestre represented Mulero for less than two months, appearing at the
initial detention and de novo bail hearings. (Docket Nos. 12 and 32.) Javier
Cuyar-Olivo (“Cuyar”) filed a notice of appearance on June 28, 2017. (Docket
No. 42.) Maestre subsequently moved to withdraw, and the Court granted her
motion. (Docket Nos. 53 and 54.) Burgos and Lozada filed notices of appearance
on July 2, 2018. (Docket Nos. 125 and 126.) After Cuyar accepted a position
at the office of the Federal Public Defender for the District of Puerto Rico,
he moved to withdraw on July 4, 2018. (Docket Nos. 127 and 128.)
        Case 3:17-cr-00297-FAB Document 232 Filed 04/17/19 Page 3 of 7



Criminal No. 17-297 (FAB)                                                        3

fees.      (Docket No. 181 at p. 10.)      Burgos and Lozada invoked the

Fifth      Amendment,   however,   refusing     to    testify    “[o]ut    of   an

abundance of caution.”          Id. at pp. 78 and 80. 2               Before the

evidentiary hearing concluded, the magistrate judge stated that:

           [Burgos and Lozada] have both indicated that [they]
           raise the Fifth Amendment. I want to be abundantly
           clear to everyone in this room and that the record be
           clear that [Burgos and Lozada] refuse to take the
           stand, [to] be placed under oath because [they]
           understood that to answer the questions, [they] would
           be implicating [themselves] in criminal activity.
           That is the understanding of the Court and that is
           what the record will so reflect.

Id.   at    pp.   80-81.   Burgos    answered    “yes.”         Id.   at   p.   81.

Consequently, the magistrate judge recommended that the Court

disqualify Burgos and Lozada, appoint counsel from the CJA Panel

to represent Mulero, and order Burgos and Lozada to return the

fees they received to represent Mulero.              United States v. Vargas,

Case No. 17-297, 2018 U.S. Dist. LEXIS 219053 (D.P.R. Nov. 30,

2018) (Morgan, Mag. J.).

      The Court adopted the R & R.       United States v. Mulero-Vargas,

Case No. 17-297, 2019 U.S. Dist. LEXIS 23943 (D.P.R. Feb. 11, 2019)

(Besosa, J.).      Because Burgos and Lozada frustrated the purpose of

the evidentiary hearing through their obstructionist conduct, the

Court ordered defense counsel to show cause as to “why they should


2 The Fifth Amendment of the United States Constitution provides that no person
“shall be compelled in any criminal case to be a witness against himself.” U.S.
CONST. amend V.
        Case 3:17-cr-00297-FAB Document 232 Filed 04/17/19 Page 4 of 7



Criminal No. 17-297 (FAB)                                                      4

not be fined $250.00.” Id. at *26. Both attorneys filed a response

to    the   Order   to   Show    Cause.     (Docket    Nos.   206   and   208.)

Subsequently, the Court ordered that Burgos and Lozada “each pay

the $250 sanction.”            (Docket No. 209.)      Burgos and Lozada now

request that the Court vacate the $250 sanction, and allow them to

keep the fees they received to represent Mulero. (Docket No. 213.)

II.    Legal Standard

       The Federal Rules of Criminal Procedure do not explicitly

provide for motions for reconsideration.               See United States v.

Ortiz, 741 F.3d 288, 292 n.2 (1st Cir. 2014) (“[M]otions for

reconsideration in criminal cases are not specifically authorized

either by statute or by rule.”) (internal citation omitted).                 The

First Circuit Court of Appeals, however, applies the legal standard

pursuant to Federal Rule of Civil Procedure 59(e) (“Rule 59(e)”)

to motions for reconsideration arising in the criminal context.

See, e.g., United States v. Allen, 573 F.3d 42, 53 (1st Cir. 2009)

(applying the legal standard for Rule 59(e) to a motion for

reconsideration in a criminal case).           Although Burgos and Lozada

do    not   identify     the    statutory   source    for   their   motion    to

reconsider, the Court nonetheless applies the Rule 59(e) legal

standard to Burgos and Lozada’s motion.

       Pursuant to Rule 59(e), a district court will alter its

original order only if it “evidenced a manifest error of law, if
         Case 3:17-cr-00297-FAB Document 232 Filed 04/17/19 Page 5 of 7



Criminal No. 17-297 (FAB)                                                                5

there is newly discovered evidence, or in certain other narrow

situations.”        Biltcliffe v. CitiMortgage, Inc., 772 F.3d 925, 930

(1st Cir. 2014) (quoting Global Naps, Inc. v. Verizon New England,

Inc.,     489   F.3d    13,    25   (1st   Cir.    2007)).           A    motion       for

reconsideration does “not provide a vehicle for a party to undo

its    own   procedural      failures   [or]    allow   a    party       [to]    advance

arguments that could and should have been presented to the district

court prior to judgment.”           Iverson v. City of Bos., 452 F.3d 94,

104 (1st Cir. 2006) (internal citation omitted).

       In deciding a motion for reconsideration, the reviewing court

has     considerable     discretion.           Venegas-Hernández          v.     Sonolux

Records, 370 F.3d 183, 190 (1st Cir. 2004).                  “As a general rule,

motions for reconsideration should only be exceptionally granted.”

Villanueva-Méndez v. Nieves Vázquez, 360 F. Supp. 2d 320, 323

(D.P.R. 2005) (Domínguez, J.).              “Rule 59(e) relief is granted

sparingly . . . .”        Biltcliffe, 772 F.3d at 930.

III. Discussion

       Burgos and Lozada’s arguments in support of their motion for

reconsideration        are    unavailing.         Defense      counsel          fail   to

demonstrate that the Court’s prior order is manifestly contrary to

law,    or   that    newly    discovered    evidence        compels      a     different

conclusion.      See Biltcliffe, 772 F.3d at 930.               Any new argument

set forth in their motion for reconsideration is based on formerly
       Case 3:17-cr-00297-FAB Document 232 Filed 04/17/19 Page 6 of 7



Criminal No. 17-297 (FAB)                                                         6

available evidence and thus could and should have been presented

to the Court prior to its opinion.           See Iverson, 452 F.3d at 104.

      Burgos and Lozada contend that the “Court’s opinion does not

explain why the return of fees is appropriate on this record.”

(Docket No. 213 at p. 5.)           The Court possesses “broad equitable

power to deny attorneys’ fees (or to require an attorney to

disgorge   fees     already   received)      when    an    attorney      represents

clients with conflicting interests.”                Rodríguez v. Disner, 688

F.3d 645, 653 (9th Cir. 2012).         Burgos and Lozada’s invocation of

the   Fifth    Amendment      demonstrates      that      they    believed    that

disclosing     information       regarding    their       fee    agreement    could

potentially subject them to criminal liability.                 See United States

v. Scala, 432 F. Supp. 2d 403, 406 (S.D.N.Y. 2006) (disqualifying

defense    counsel     because    “invocation       of    the    Fifth   Amendment

demonstrates that his interest and those of his client probably

diverge with respect to courses of action that inevitably arise in

criminal   cases”).       Defense    counsels’      personal      interests    were

separate     and    potentially    divergent     from      Mulero’s      interests.

Accordingly, the Court concludes that the fee agreement between

Mulero, Burgs and Lozada created a conflict of interest ab initio.

      This Court will not allow Burgos and Lozada to be compensated

with fees received during a representation tainted by a conflict

of interest.       To do otherwise would be an affront to the integrity
         Case 3:17-cr-00297-FAB Document 232 Filed 04/17/19 Page 7 of 7



Criminal No. 17-297 (FAB)                                                    7

of    the    judicial    process.        See,    e.g.,   Curtis    v.     Radio

Representatives, Inc., 696 F. Supp. 729, 734 n.2 (D.D.C. 1988)

(“Other courts have disallowed attorneys fees generated after a

conflict of interest arose, but permitted an allowance for services

rendered prior to the development of the conflict.”) (citing Matter

of Chi. & W. Towns Rys., Inc., 230 F.2d 364, 369 (7th Cir. 1956)).

Accordingly, Burgos and Lozada must return the fees they received

to represent Mulero.         Having already addressed their arguments in

the Court’s decision, see Mulero-Vargas, 2019 U.S. Dist. LEXIS

23943, the Court AFFIRMS its order adopting the magistrate judge’s

R & R.

IV.   Conclusion

      For    the   reasons    stated,   Burgos   and   Lozada’s   motion   for

reconsideration is DENIED.        (Docket No. 213.)

      IT IS SO ORDERED.

      San Juan, Puerto Rico, April 17, 2019.


                                           s/ Francisco A. Besosa
                                           FRANCISCO A. BESOSA
                                           UNITED STATES DISTRICT JUDGE
